CaseCase 7:16-cr-01589
     7:16-cr-01589      Document
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                                                            11/01/16   1 of 10
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     7:16-cr-01589      Document
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                                                in TXSDinon
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                                                            11/01/16   2 of 10
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CaseCase 7:16-cr-01589
     7:16-cr-01589      Document
                    Document     395 FiledFiled
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                                                in TXSDinon
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                                                            11/01/16   3 of 10
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     7:16-cr-01589      Document
                    Document     395 FiledFiled
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                                                in TXSDinon
                                                          TXSD    PagePage
                                                            11/01/16   4 of 10
                                                                            4 of 10
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     7:16-cr-01589      Document
                    Document     395 FiledFiled
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                                                in TXSDinon
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                                                            11/01/16   5 of 10
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CaseCase 7:16-cr-01589
     7:16-cr-01589      Document
                    Document     395 FiledFiled
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                                                            11/01/16   6 of 10
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                                                            11/01/16   7 of 10
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                                                in TXSDinon
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                                                            11/01/16   8 of 10
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CaseCase 7:16-cr-01589
     7:16-cr-01589      Document
                    Document     395 FiledFiled
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                                                            11/01/16   9 of 10
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CaseCase 7:16-cr-01589
     7:16-cr-01589      Document
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                                                            11/01/16   10 of10
                                                                             10of 10
